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In the United States Court of Federal Claims
                           OFFICE OF SPECIAL MASTERS
******************** *
JODI K. HUPE, mother and             *
next friend of B.A.H., a minor,      *
                                     *     No. 14-448V
                   Petitioner,       *     Special Master Christian J. Moran
                                     *
v.                                   *     Filed: July 6, 2015
                                     *
SECRETARY OF HEALTH                  *     Damages; decision based on proffer;
AND HUMAN SERVICES,                  *     human papillomavirus (“HPV”);
                                     *     syncope; jaw and teeth injury.
                   Respondent.       *
******************** *
Theodore G. Pashos, Niedner Bodeux et al., St. Charles, MO, for Petitioner;
Amy P. Kokot, U.S. Dep’t of Justice, Washington, DC, for Respondent.

             UNPUBLISHED DECISION AWARDING DAMAGES1

        On May 27, 2014, Jodi K. Hupe filed a petition on behalf of her daughter,
B.A.H., seeking compensation under the National Vaccine Injury Compensation
Program, 42 U.S.C. § 300aa—10 through 34 (2006), alleging that the human
papillomavirus (“HPV”) vaccination caused B.A.H. to suffer syncope resulting in
injuries to her jaw and teeth. On August 29, 2014, the undersigned determined that
petitioner is entitled to compensation under the Vaccine Act.

      On February 10, 2015, respondent filed a Proffer on Award of
Compensation, to which petitioner agrees. Based upon the record as a whole, the
special master finds the proffer reasonable and that petitioner is entitled to an


       1
          The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b),
the parties have 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special
master will appear in the document posted on the website.
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award as stated in the Proffer. 2 Pursuant to the attached Proffer, the court awards
petitioner:

   A. A lump sum payment of $5,395.00, representing compensation for past
      unreimbursable vaccine-related medical expenses, in the form of a
      check payable to petitioner, Jodi K. Hupe.

   B. An amount sufficient to purchase an annuity contract, paid to the life
      insurance company from which the annuity will be purchased, subject
      to the conditions described in the attached Proffer (Appendix A), that
      will provide payments to B.A.H. as set forth below:
             1. Beginning October 17, 2015, $20,000.00 payable annually for six
                (6) years certain only.
             2. On October 17, 2022, a certain lump sum of $10,156.21.
        This amount represents all remaining elements of compensation to
        which B.A.H. would be entitled under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC Appendix B,
the clerk of the court is directed to enter judgment herewith.

        Any questions may be directed to my law clerk, Mary Holmes, at (202) 357-
6360.

        IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




        2
         Respondent previously filed a proffer for award on December 22, 2014. The
undersigned issued a decision based on this proffer on December 30, 2014, and later granted
petitioner’s joint motion to vacate his decision allowing the parties to amend the form of the
award. See order, issued Jan 14, 2015.

        The undersigned issued a second decision on February 12, 2015, based on respondent’s
February 10, 2015 proffer and later granted a motion to vacate that decision to correct for an
error in the award not in accordance with the proffer. See order, issued June 23, 2015.

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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS
___________________________________
                                        )
JODY K. HUPE, mother and next friend of )
B.A.H., a minor,                        )
                                        )
        Petitioner,                     ) No. 14-448V ECF
                                        )
               v.                       ) Special Master Moran
                                        )
SECRETARY OF HEALTH                     )
AND HUMAN SERVICES,                     )
                                        )
        Respondent.                     )
___________________________________ )

             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On May 27, 2014, petitioner, on behalf of her minor daughter, B.A.H., filed a petition for

compensation under the National Childhood Vaccine Injury Act of 1986 (the “Vaccine Act”), as

amended. 42 U.S.C. §§ 300aa-1 et seq. Petitioner alleges that, after B.A.H. received the human

papillomavirus vaccine on June 1, 2011, she suffered syncope resulting in injuries to her jaw and

teeth. Petitioner alleges a theory based on causation-in-fact. The Secretary of Health and

Human Services (“respondent”) filed a Vaccine Rule 4(c) Report, conceding that B.A.H.

suffered from syncope resulting in mandibular fractures, multiple lacerations, tooth fractures, and

requiring multiple surgeries, and recommending that petitioner be awarded compensation.

Respondent hereby submits the following proffer regarding the award of compensation. This

proffer does not address final attorneys’ fees and litigation costs. Petitioner is additionally

entitled to reasonable attorneys’ fees and litigation costs, to be determined at a later date upon

petitioner submitting substantiating documentation.
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I.     Items of Compensation

       A.      Future Medical Care Expenses

       Respondent proffers that based on the evidence of record, petitioner is entitled to an

award for projected unreimbusable medical care expenses as provided under the Vaccine Act, 42

U.S.C. § 300aa-15(a)(1)(A), in the amount of $77,040.38. Petitioner agrees.

       B.      Lost Future Earnings

       Respondent proffers that based upon the evidence of record, B.A.H. is not likely to suffer

a loss of earnings as a result of her vaccine injury. Accordingly, petitioner should not be

awarded lost future earnings as provided under the Vaccine Act, 42 U.S.C. § 300aa-15(a)(3)(A).

Petitioner agrees.

       C.      Pain and Suffering

       Respondent proffers that petitioner should be awarded a lump sum of $50,000.00 for

B.A.H.’s actual pain and suffering as provided under the Vaccine Act, 42 U.S.C. § 300aa-

15(a)(4). Petitioner agrees.

       D.      Past Unreimburseable Expenses

       Evidence supplied by petitioner documents her expenditure of past unreimbursable

expenses related to B.A.H.’s vaccine-related injury. Respondent proffers that petitioner should

be awarded past unreimbursable expenses in the amount of $5,395.00. Petitioner agrees.

       E.      Medicaid Lien

       Petitioner represents that there are no outstanding Medicaid liens related to B.A.H.’s

vaccine-related injury.




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II.    Form of the Award

       The parties recommend that the compensation provided to petitioner, to be received on

behalf of B.A.H., should be made through a combination of a lump sum payment and future

annuity payments as described below, and request that the special master's decision and the

Court's judgment award the following: 1

       A. A lump sum payment of $5,395.00, representing compensation for past

unreimbursable vaccine-related medical expenses, in the form of a check payable to petitioner.

       B. An amount sufficient to purchase an annuity contract, 2 paid to the life insurance

company3 from which the annuity will be purchased, 4 subject to the conditions described below,

that will provide payments to B.A.H. as set forth below:

             1. Beginning October 17, 2015, $20,000.00 payable annually for six (6) years
                certain only.

             2. On October 17, 2022, a certain lump sum of $10,156.21.

       1
          Should B.A.H. die prior to entry of judgment, the parties reserve the right to move the
Court for appropriate relief. In particular, respondent would oppose any award for future
medical expenses, future lost earnings, and future pain and suffering.
       2
          In respondent’s discretion, respondent may purchase one or more annuity contracts
from one or more life insurance companies.
       3
          The Life Insurance Company must have a minimum of $250,000,000 capital and
surplus, exclusive of any mandatory security valuation reserve. The Life Insurance Company
must have one of the following ratings from two of the following rating organizations:
                a. A.M. Best Company: A++, A+, A+g, A+p, A+r, or A+s;

                b. Moody's Investor Service Claims Paying Rating: Aa3, Aa2, Aa1, or Aaa;

                c. Standard and Poor's Corporation Insurer Claims-Paying Ability Rating: AA-, AA, AA+, or
                AAA;

                d. Fitch Credit Rating Company, Insurance Company Claims Paying Ability Rating: AA-, AA,
                AA+, or AAA.
       4
         Petitioner authorizes the disclosure of certain documents filed by the petitioner in this
case consistent with the Privacy Act and the routine uses described in the National Vaccine
Injury Compensation Program System of Records, No. 09-15-0056.
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                 This amount represents all remaining elements of compensation to which B.A.H.
                 would be entitled under 42 U.S.C. § 300aa-15(a).

Petitioner agrees. 5 Should B.A.H. predecease any of the certain payments set forth above, said

payments shall be made to her estate. Written notice to the Secretary of Health and Human

Services and to the Life Insurance Company shall be provided within twenty (20) days of

B.A.H.’s death.


                                                       Respectfully submitted,

                                                       JOYCE R. BRANDA
                                                       Acting Assistant Attorney General

                                                       RUPA BHATTACHARYYA
                                                       Director
                                                       Torts Branch, Civil Division

                                                       VINCENT J. MATANOSKI
                                                       Deputy Director
                                                       Torts Branch, Civil Division

                                                       VORIS E. JOHNSON, JR.
                                                       Assistant Director
                                                       Torts Branch, Civil Division

                                                       /s/ Lindsay Corliss
                                                       LINDSAY CORLISS
                                                       Trial Attorney
                                                       Torts Branch, Civil Division
                                                       U. S. Department of Justice
                                                       P.O. Box l46, Benjamin Franklin Station
                                                       Washington, D.C. 20044-0146
                                                       Direct dial: (202) 616-9197
Dated: February 10, 2015                               Fax: (202) 616-4310




       5
            At the time payment is received, B.A.H. will be an adult, and thus guardianship is not
required.
                                                  4
